Case 1:11-cV-01896-GLR Document 38 Filed 01/03/14 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
*

 

ROBERT W. PERRIN,
Plaintiff,
v. Civil No. 1111'0V'01896'BEL
PHILIP J. SCHROEDER, M.D.

Defendant.

*

*****************************************************************************

STIPULATION OF DISMISSAL WITH PREJUDICE
The parties, by their respective undersigned counsel, stipulate and agree that

this action shall be, and hereby is, DISMISSED WITH PREJUDICE. Outstanding

costs shall be paid by the Defendant.

WWJ ?Méi/¢ <7/7-%”

Thomas O' Toole Fredeyi'éh ou dry III
USDC/MD Bar #10227 USD /l\/lDW ar#

Baroody & O' Toole & GOUNDRY
201 N. Charles Street, Ste. 2102 AAR Professional Corporation
Baltimore, MD 21201 121 East Patrick Street
(410)539-8413 Frederick, MD 21701
Attorneys for Plaintiff (301)631'1800

Attorneys for Defendant

